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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )                      No. 14-CR-3209-JB
                                              )
BENTLEY STREETT,                              )
                                              )
                       Defendant.             )


Second Unopposed Motion to Extend Time to File Findings of Fact and Conclusions of Law
                                  Nunc Pro Tunc

       Defendant Bentley Streett, by undersigned counsel Harry Zimmerman, respectfully

request that this court grant the defense an additional day until November 1, 2018 to file the

motion to dismiss findings of fact and conclusions of law and additional two days until

November 2 to file motion to suppress findings of fact and conclusions of law for the hearings

conducted on September 10 and September 11, 2018. Mr. Streett asserts the following reasons.

 1. Mr. Streett is charged in a 12-count indictment. (Doc. No. 33). Mr. Streett faces serious

     consequences if convicted. The five counts at issue in the motion to dismiss alone carry a

     mandatory minimum prison term of 15 years.

 2. On April 19, 2018, this Court appointed undersigned as co-counsel for Mr. Streett to handle

     motions in this matter. (Doc. No. 121). Counsel is a sole practitioner.

 3. On September 24, 2018, following consultation between the Government and the Defense,

     the Court filed Scheduling Order No. 6 which called for the parties to file their findings of

     fact and conclusions of law from the evidentiary hearings in this matter on October 26,

     2018. (Doc. No. 157).


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4. On September 28, 2018, the transcripts from the two days of motion hearings were filed

   with this Court. (Doc. Nos. 158, 159).

5. Since that time, the undersigned been working steadily and diligently on this matter to aid

   the Court in the determination of these significant issues. But as a sole practitioner, counsel

   has had to address unanticipated matters related to motions in several other cases that had

   also been set for trial. (District of New Mexico case numbers: 16-CR-3213, 18-CR-931, 18-

   CR-2099); and matters related to sentencing in two other cases. (District of New Mexico

   case numbers 17-CR-3562 and 17-CR-2561).

6. The Court had granted the first unopposed continuance in this matter, extending the time to

   October 31, 2018 for both sets of findings of fact and conclusions of law. (Doc. No. 162).

7. On October 25 and 26, 2018, after the first extension was requested, counsel was engaged in

   negotiations with the New Mexico Attorney General for production of grand jury materials

   related to the motion to suppress in this matter, resulting in my preparation and filing of the

   motion of for production and protective order, with the proposed, lengthy order attached.

   Precious time was lost in working with the Attorney General in that matter and preparing

   the necessary documents. The Court ordered the production and protective order. (Doc. No.

   163).

8. Counsel suffers from chronic back pain related to a previous surgery. The additional hours

   spent working over this past weekend caused an aggravation of that back pain, slowing

   progress in this matter and further resulting in a sleepless night on Tuesday, October 30,

   2018, the day before the documents were due to be filed. Consequently, little work could be

   accomplished the following day, October 31, 2018, when the documents should have been



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    filed.

9. On October 31, 2018, counsel had been in contact with Assistant United States Attorney

    Sarah Mease. After explaining the circumstances, Ms. Mease agreed not to oppose an

    extension for the motion to suppress findings and conclusions until Friday, November 2,

    2018. Counsel had hoped to file the motion to dismiss findings by yesterday’s due date, but

    as noted above, the pain and lack of sleep prevented their completion.

10. Last night, counsel contacted Ms. Mease to explain the circumstance. We agreed that both

    parties would file the motion to dismiss findings and conclusions today, November 1, 2018,

    to maintain the schedule calling for a simultaneous filing, should the Court concur. We

    further agreed, again pending the Court’s order, to file the motion to suppress findings and

    conclusions by tomorrow, November 2, 2018.

11. Because of the issues cited above with pain and sleep deprivation, the undersigned was

    unable to prepare this nunc pro tunc request until this morning.

12. The Government, per Assistant United States Attorney Sarah Mease, is unopposed to this

    motion.

       For the foregoing reasons, Mr. Streett requests permission to extend the time to file his

motion to dismiss findings of fact and conclusions of law today, November 1, 2018, and the

motion to suppress findings and conclusions on November 2, 2018.


Dated: November 1, 2018                              Respectfully submitted,

                                                     /s/ Harry Zimmerman
                                                     Harry Zimmerman
                                                     12231 Academy Rd NE, 301-315
                                                     Albuquerque, NM 87111
                                                     Tel: (505) 293-6859


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                                  Certificate of Service
      I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court
on November 1, 2018, using the CM/ECF system.
                                                           /s/ Harry Zimmerman
                                                           Harry Zimmerman




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